        Case 19-16346-amc                       Doc 40         Filed 11/20/24 Entered 11/20/24 07:04:40                     Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
 Debtor 1                  Gregory Hartman


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          19-16346-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                         10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  PNC BANK NA                                                               4-1

 Last 4 digits of any number you use to identify the debtor's account                         0   0   5   3

 Property Address:                              5608 Spruce Mill Drive
                                                Yardley, PA 19067




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $    63,587.33

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $    63,587.33

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $          -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $          -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $          -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $          -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $    63,587.33



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     Gregory Hartman                                                   Case number (if known) 19-16346-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date      11/19/2024


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     Gregory Hartman                                            Case number (if known) 19-16346-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                    Creditor Type               Date       Check # Posting Description                  Amount
5        PNC BANK NA             Pre-Petition Arrears        12/21/2020 17211597Disbursement To Creditor/Principal    940.10
5        PNC BANK NA             Pre-Petition Arrears        01/22/2021 17212907Disbursement To Creditor/Principal 1,240.76
5        PNC BANK NA             Pre-Petition Arrears        02/23/2021 17214210Disbursement To Creditor/Principal 1,240.76
5        PNC BANK NA             Pre-Petition Arrears        03/19/2021 17215403Disbursement To Creditor/Principal 1,240.76
5        PNC BANK NA             Pre-Petition Arrears        04/23/2021 17216547Disbursement To Creditor/Principal 1,240.76
5        PNC BANK NA             Pre-Petition Arrears        05/25/2021 17217680Disbursement To Creditor/Principal 1,200.73
5        PNC BANK NA             Pre-Petition Arrears        06/25/2021 17218759Disbursement To Creditor/Principal 1,200.73
5        PNC BANK NA             Pre-Petition Arrears        07/23/2021 17219809Disbursement To Creditor/Principal 1,200.73
5        PNC BANK NA             Pre-Petition Arrears        08/20/2021 17220844Disbursement To Creditor/Principal 1,200.73
5        PNC BANK NA             Pre-Petition Arrears        09/24/2021 17221899Disbursement To Creditor/Principal 1,200.73
5        PNC BANK NA             Pre-Petition Arrears        10/22/2021 17222870Disbursement To Creditor/Principal 1,227.42
5        PNC BANK NA             Pre-Petition Arrears        12/17/2021 17224750Disbursement To Creditor/Principal 1,227.42
5        PNC BANK NA             Pre-Petition Arrears        01/21/2022 17225725Disbursement To Creditor/Principal 2,454.83
5        PNC BANK NA             Pre-Petition Arrears        03/18/2022 17227664Disbursement To Creditor/Principal 1,227.42
5        PNC BANK NA             Pre-Petition Arrears        04/22/2022 8001449 Disbursement To Creditor/Principal 2,454.83
5        PNC BANK NA             Pre-Petition Arrears        06/27/2022 8001633 Disbursement To Creditor/Principal 2,454.83
5        PNC BANK NA             Pre-Petition Arrears        07/22/2022 8001745 Disbursement To Creditor/Principal 1,227.42
5        PNC BANK NA             Pre-Petition Arrears        09/23/2022 8001951 Disbursement To Creditor/Principal 5,944.01
5        PNC BANK NA             Pre-Petition Arrears        10/21/2022 8002054 Disbursement To Creditor/Principal 1,379.12
5        PNC BANK NA             Pre-Petition Arrears        12/16/2022 8002258 Disbursement To Creditor/Principal 1,379.12
5        PNC BANK NA             Pre-Petition Arrears        01/20/2023 8002400 Disbursement To Creditor/Principal 1,379.12
5        PNC BANK NA             Pre-Petition Arrears        02/17/2023 8002489 Disbursement To Creditor/Principal 1,379.12
5        PNC BANK NA             Pre-Petition Arrears        03/17/2023 8002622 Disbursement To Creditor/Principal 1,379.12
5        PNC BANK NA             Pre-Petition Arrears        04/21/2023 8002719 Disbursement To Creditor/Principal 1,379.12
5        PNC BANK NA             Pre-Petition Arrears        05/19/2023 8002842 Disbursement To Creditor/Principal 1,364.13
5        PNC BANK NA             Pre-Petition Arrears        06/16/2023 8002997 Disbursement To Creditor/Principal 1,364.13
5        PNC BANK NA             Pre-Petition Arrears        07/21/2023 8003129 Disbursement To Creditor/Principal 1,364.13
5        PNC BANK NA             Pre-Petition Arrears        08/18/2023 8003249 Disbursement To Creditor/Principal 1,364.13
5        PNC BANK NA             Pre-Petition Arrears        09/22/2023 8003383 Disbursement To Creditor/Principal 1,364.13
5        PNC BANK NA             Pre-Petition Arrears        10/20/2023 8003509 Disbursement To Creditor/Principal 2,713.27
5        PNC BANK NA             Pre-Petition Arrears        12/15/2023 8003764 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        01/22/2024 8003887 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        02/16/2024 8004017 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        03/15/2024 8004140 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        04/19/2024 8004282 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        05/24/2024 8004413 Disbursement To Creditor/Principal 2,698.28
5        PNC BANK NA             Pre-Petition Arrears        06/21/2024 8004546 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        07/19/2024 8004674 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        09/20/2024 8004932 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        10/15/2024 8005051 Disbursement To Creditor/Principal 1,349.14
5        PNC BANK NA             Pre-Petition Arrears        11/15/2024 8005176 Disbursement To Creditor/Principal    813.18
                                                                                     Total for Part 2 - B:         63,587.33




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